                             UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                      :
                                              :   CRIMINAL NO. 3:13-CR-226 (RNC)
                                              :
               v.                             :
                                              :
                                              :   NOTICE OF APPEARANCE
DANIEL CARPENTER, ET AL.                      :
                                              :
                                              :

To the Clerk of the Court and all parties of record:

       Please enter my appearance as counsel for Defendant Daniel Carpenter in the above-

captioned case.



Dated: January 22, 2018
                                                   By: /s/ James M. Cole
                                                       James M. Cole
                                                       (Admitted Pro Hac Vice)
                                                       Federal Bar No.: phv09417
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2018, a copy of the foregoing Notice of Appearance

was filed electronically through the Court’s CM/ECF system and sent by e-mail to all parties by

operation of the Court’s electronic filing system as indicated on the Notice of Electronic Filing.


                                                     By: /s/ James M. Cole
                                                         James M. Cole




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